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                         UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                     :
                                             :
                                             :
v.                                           :       Case No.: 5:24-cr-97-TPB-PRL-1
                                             :
                                             :
DANIEL BALL,                                 :
                                             :
               Defendant.                    :

                         NOTICE OF CERTIFICATE OF PARDON

       Daniel Ball, by and through undersigned counsel, respectfully gives notice of his

Certificate of Pardon provided by the U.S. Office of the Pardon Attorney, attached as Exhibit A,

pursuant to the undersigned’s email request asking for such a certificate to memorialize the

president’s pardoning of Mr. Ball in the above-listed case and in United States v. Daniel Ball, No.

1:23-cr-00160-RC-1 (D.D.C.), see Exhibit B.


                                                     Respectfully submitted,

                                                       /s/ Amy C. Collins
                                                     Amy C. Collins
                                                     D.C. Bar No. 1708316
                                                     888 17th Street, NW, Suite 1200
                                                     Washington, D.C. 20006
                                                     (228) 424-0609
                                                     amy@amyccollinslaw.com
                                                     acollins@kalbianhagerty.com
                                                     Counsel for Daniel Ball




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 31st day of January 2025, I caused a true and correct

copy of the foregoing Notice to be delivered via CM/ECF to all parties.


                                                     /s/ Amy C. Collins
                                                    Amy C. Collins




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